EXHIBIT A
                                                          Case Number:20-005515-CI

Filing #   117074442 E-Filed 1 1/20/2020 05:33:59 PM




                              IN THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                                              IN AND FOR PINELLAS          COUNTY, FLORIDA

               CARRIER CORPORATION,


                                  Plaintiff
                                                                                     CIVIL ACTION NUMBER:
               V




               TECHNOLOGYRESEARCH, LLC F/K/A
               TECHNOLOGYRESEARCH CORPORATION,


                                  Defendant.



                                                               COMPLAINT



                   COMES          NOW, CARRIER CORPORATION ("Carrier"), Plaintiff, in the above-styled Civil

           Action, and files this its Complaint against Defendant Technology Research, LLC, f/Wa Technology

           Research   Corporation ("TRC"), showing this Court the following:

                                                      JURISDICTIONAND VENUE


           1       TRC is     a   Florida limited   liability company. TRC's principal place of business is located at 4525

           140th Avenue North, Suite 900, Clearwater, Florida 33762. TRC             can   be served by   delivering a copy of the

           Summons and       Complaint to its registered agent for service of process, NRAI Services, Inc.,            1200 South


           Pine Island    Road, Plantation,Florida 33324.

           2.      This Court has jurisdictionover TRC as it is       a   resident ofFlorida and its   principal place ofbusiness

           is located at 4525 140th Avenue North, Suite 900, Clearwater, Florida 33762.


           3.      TRC's principal place of business is within Pinellas County, Florida, and, thus,            venue   is proper in


           this county.




                                                                    -1-




***ELECTRONICALLYFILED 11/20/2020 05:33:56 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***
                                              FACTUAL BACKGROUND


4.         On   or   about   February 2, 2014,   a   fire occurred in Toccoa,   Georgia resulting in   a   personal injury

lawsuit    by Courtney        Patton   against Carrier, (the "Patton lawsuit"). (See Courtney          Patton   v.   Carrier


Corporation, et al. Stephens County, Georgia; SUCV2014000329).

5.         On March 27, 2015, Carrier tendered its defense of the Patton lawsuit to TRC and demanded


indemnification notifying TRC that the Plaintiffs             theory of recovery was based upon an alleged defect in

TRC's LCDI plug and cord assembly that               was   incorporated into Carrier's PTAC/air conditioner. (See       Ex.


1).

6.         Carrier's March 27, 2015          correspondence      also referenced and attached the indemnification


provision within the         Terms and Conditions of Purchase applicable to all      shipments of LCDI plug and cord

assemblies supplied by TRC to Carrier.           (See Ex. 1).

7.         TRC's indemnification provision states:


            "Seller LTRC1 covenants and agrees at all times to protect, defend, hold harmless and indemnify
           Buyer LCarrier Mexicol, its parent and affiliated companies Le.g., Carrier Corporationl and their
           respective directors, officers, employees, successors and assigns from and against any and all
           losses, costs and expenses, and from and against any and all claims for loss, damage or injury and
           from and against any suits, actions, or legal proceedingsof any kind brought against Buyer, or such
           other parties by or on account of any person, persons, entities, or on account of any injuries received
           or sustained db
                         by any person, persons, entities, or on account of any injuries sustainedin any manner
           (however,arising, including without limitationby reason ofnegligence, breach of warranty, defect
           in design, material or workmanship or otherwise, and even though strict liability be claimed),
           directly or indirectly caused by, incident to, or growing out of breach of this order, defects in the
           design, manufacture,or materialsused in the goods, negligence in the manufacture or provision of
           the goods supplied, or perfonnance of the services hereunder. Seller further agrees to take upon
           itself the settlement of all such claims and the defense of any suit, suits, or legal proceedings of any
           kind brought to enforce such claim or claims, and to pay all judgments entered in such suit, suits
           or legal proceedings, and all costs of attorneys' fees or other expenses           Seller's covenants of
                                                                                             .....




           indemnity herein shall constitute   full force and effect notwithstanding the tennination or expiration
           of this order." (the "Indemnification Provision")


8          The Terms and Conditions of Purchase              expressly stipulate that the entire agreement "shall be

construed and enforced          according   to the laws of the State of New     York, excluding its 'Choice of Law'      or



'Conflict of Laws' rules." (See Terms and Conditions attached to Exhibit "1", 923)


9.         On   April 17, 2015,    TRC rejected Carrier's tender of defense and demand for indemnification.            (See

as    Exhibit "2").

                                                              -2-
10.           Carrier settled the Patton lawsuit, making its first settlement payment on November 20,2015.1

11.           Due to TRC's        improper rejection of Carrier's tender of defense and demand for indemnification,

Carrier seeks indemnificationand reimbursement from TRC for the cost ofthat lawsuit, includingattorney's


fees and settlement monies it paid.


                                           CONTRACTUAL INDEMNITY CLAIM


12.           Carrier   incorporates Paragraphs 1-12 of its Complaint as if fully reasserted herein.

13.           The Contract is to be       interpreted under the laws ofNew York. (See Terms and Conditions attached

to Exhibit "1",      ll23)

14.           Under New York law, the          duty to indemnify "arises out of a contract which may be express or rnay

be    implied in law 'to prevent a result which is regarded as unjust or unsatisfactory."' Fox v. Cty. ofNassau,

183 A.D.2d        746, 747, 583 N.Y.S.2d 482, 483 (1992).

15.           Pursuant to the Indemnification           Provision, TRC agreed        to   indemnify Carrier for: "any and all

claims for loss,        damage or injury and from and against any suits, actions,               or   legal proceeding of any kind

brought against Buyer,             or   such other parties   by   or on   account   of any person, persons,      or   entities or   on



account of any          injuries received or sustainedby an person,         persons,   or   entities in any manner....directly or


indirectly caused by, incident to,           or   growing out of breach of this order, defects in the design, manufacture,

or    materials used in the         goods, negligence        in the manufacture      or   provision of the goods supplied,          or




perfonnance of the services hereunder." (See Terms and Conditions attached to Exhibit "1", ll9)

16.           TRC   agreed    to   protect and indemnify Carrier "from and against any and all losses,                    costs   and


expenses" directly           or   indirectly caused by, incident to,        or   growing     out   of   breach, defects in design,

manufacture, negligence in the manufacture or provision of the goods supplied. (See Terms and Conditions

attached to Exhibit "1", 99)




        1
            Due to the confidentialnature of the settlement agreement it is not attached hereto, but will be made available
to the Court.


                                                                  -3-
17.        Carrier's settlement and attorneys fees incurred in the Patton lawsuit                   were   paid to resolve claims

directly    or   indirectly caused by defects in the design, manufacture,                    or   materials used in the        goods,

negligence in the manufacture or provision of TRC's LCDI plug and cord assembly sold to Carrier.

18.        Despite demand, TRC failed          to defend and       indemnify Carrier         in the Patton lawsuit in breach of


TRC's    obligations under the Indemnification Provision and such breach has resulted in damages                         to Carrier.


19.        Carrier is entitled to recover from TRC the amounts paid in settlement with Ms. Patton, plus interest


at the   legal   rate from the date of payment,        together with all    costs of defense,       including but not limited to

associatedattorney's fees and costs.


                                        COMMON LAW INDEMNITY CLAIM


20.        Carrier   incorporates Paragraphs 1 -20 of its Complaint as           if fully reasserted herein.


21.        As the    designer, manufacturer, and supplier           to   Carrier of the LCDI cord and               plug assemblies

incorporated into Carrier's PTAC units/air conditioners, TRC owed                      a    duty to exercise reasonable care       to



design, test, manufacture, inspect, market, sell and provide adequate warnings concerning the                                   LCDI


products,    so as   to   make them free of unreasonablerisk of harm.


22.        Carrier's      liability and settlement   in the Patton lawsuit was due to TRC's negligence in                designing,

testing,manufacturing, inspecting,marketing, selling and failing to provide adequate warnings concerning

the LCDI plug and cord assemblies and TRC's laterbreach of its                 indemnity agreement with Carrier. Carrier's

cost to    defend the Patton lawsuit and settlement payment to resolve the Patton lawsuit                       was    proximately

caused by TRC's defective LCDI             plug and cord assembly as alleged above and TRC's failure to warn of

such defects.      Consequently, Carrier      was    compelled    to pay    damages in the Patton lawsuit because of the

negligence imputed to it as the result of a tort committed by TRC.

23.        Accordingly, Carrier is entitled to be indemnifiedfor and recover against TRC all                         costs   incurred,

including costs of defense and attorney's fees as well as payments in settlement of the claims in the Patton

lawsuit under      Georgia law. See Nguyen v. Lumbermens                 Mut. Cas.   Co.,    261 Ga.   App.   553   (2003) (holding

indemnification"may arise by operation oflaw, independently of contract" ifa person "is                         compelled to pay

damages because of negligence imputed to               him   as   the result of a    tort   committed by another."); (see also

                                                              -4-
IndependentMfg. Co.. Inc.   v.   Automotive Products,Inc., 141 Ga. App. 518 ( 1977) (holding that a defendant


manufacturer could maintain       third-party complaint against component manufacturer for common-law

indemnity).

        WHEREFORE,Carrier prays this Court grant the relief requested, a TRIAL BY JURY, and such

other relief this Court deems just and proper.


        Respectfully submitted this 20th day ofNovember, 2020.

                                                        HALL BOOTH      SMITH, P.C.
                                                        2202 North Westshore Boulevard-Suite 200
                                                        Tampa, Florida 33607
                                                        Tel: 813-329-3880


                                                        By:     /s/ R. Rvan Rivas
                                                                R. RYAN RIVAS
                                                                F.B.N. 96700



                                             CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that           a   true   and correct copy of the   foregoing was electronicallyfiled with

the Florida Courts   E-Filing Portal and a copy served along with the Summons and Complaint.




                                                          -5-
STN1-.I                                                       M. Diane Owens                                        S. DeAnn Bomar

Lurrie
-
     ATTORNEYS AT LAW   -
                                                                 404-888-6158                                          404-888-6164
                                                                                                               com@swiftcurrie.com

The Peachtree I 1355 Peachtree Street, NE   j Suite 300 ? Atlanta, GA 30309 ? 404.874.8800 ? Fax: 404.888.6199 ? www. swiftcurrie.com

March 27, 2015

VIA CERTIFIED MAIL


Technology Research LLC
Ok/a Technology Research Corporation
ATTN: General Counsel
4525    140th Ave. North
Suite 900
Clearwater, Florida 33762

Technology Research LLC
f/k/a Technology Research Corporation
c/o Registered Agent
GY Corporate Services, Inc.
600 Brickell Avenue
Suite 3500
Miami, Florida 33131

Technology Research LLC
f/ida Technology Research Corporation
c/o Registered Agent
NRAI Services, Inc.
1200 South Pine Island Rd.
Plantation, Florida 33324

         Ret       Courtney Desiree Patton v. Michont, Inc., d/b/a Toccoa Inn & Suites:
                   Mingledorff's Inc.; and Carrier Corporation
                   C. A. File No. 14-SU-CV-329cc, Superior Court of Stephens County


          TENDER OF DEFENSE AND DEMAND FOR INDEMNIFICATION


Dear Sir/Madam:


      Carrier Corporation has been sued in the above-captionedcivil action pending in
Stephens County, Georgia. This action arises out of a fire that occurred on February 2,
2014 in Room 203 of the Toccoa Inn & Suites, in Toccoa, Georgia. Plaintiff Courtney
Patton was  staying as a guest in Room 203 when the fire occurred, and alleged ty
sustained significant physical injuries as a result. In her lawsuit, Plaintiff alleges the fire
                                                                                      1




                                                                Swift, Currie, McGhee & Hiers, LLP
                                                                                            Page 2


started    result of a defect in the packaged terminal air conditioner ("PTAC") in Room
          as a

203. Plaintiff further alleges that Carrier Corporation, as the manufacturer of the subject
PTAC unit, is liable to her in damages, based on theories of negligence and strict
liability.   A copy of the   Complaint is      attached.


       After the subject fire occurred, but before suit was filed, the PTAC unit*as lost or
destroyed. Therefore, Carrier never had the opportunity to examine and inspect the unit.
However, representatives of the Toccoa Inn & Suites did have the opportunity to examine
and photograph the unit, including the power cord connecting the PTAC unit to the wall
electrical outlet. Carrier has been able to identify through these photographs, that the
PTAC unit was a Carrier Model 52C unit, which incorporated an ECDI cord
manufacturedand supplied by Technology Research Corporation ("TRC"). Photographs
of the subject power cord and plug are attached.

          Between 2004 and             2008, TRC and Carrier Mexico    were   under   a   purchase
agreement whereby TRC              supply, and Carrier Mexico agreed to purchase, LCDI
                                  agreed to
cords for use in Carrier PTAC units. The Terms and Conditions of Purchase with respect
to the LCDI cords supplied by TRC include an indemnificationprovision whereby:


          Seller   ITRCJ   covenants and agrees at all times to protect, defend, hold
          harmless and indemnify Buyer ICarrier Mexicol, its parent and affiliated
          companies Ie.g., Carrier Corporationl, and their respective directors,
          officers, employees, successors and assigns from and against any and all
          losses, costs and expenses, and from and against any and all claims for loss,
          damage or injury and from and against any suits, actions, or legal
          proceedings of any kind brought against Buyer, or such other parties by or
          on account of any person, persons, entities, or on account of any injuries

          received   or          by any person, persons, or entities in any manner
                          sustained
          (howsoever arising, including without limitation, by reason of negligence,
          breach of warranty, defect in design, material or workmanship or otherwise,
          and even though strict liability be claimed), directly or indirectly caused by,
          incident to, or growing out of breach of this order, defects in the design,
          manufacture, or materials used in the goods, negligence in the manufacture
          or provision of the goods supplied, or performance of the services

          hereunder. Seller further agrees to take upon itself the settlement of all such
          claims and the defense of any suit, suits, or legal proceedings of any kind
          brought to enforce such claim or claims, and to pay all judgments entered
          in such   suit, suits   or   legal proceedings, and
                                                       all costs of attorneys' fees or
          other expenses.... Seller's covenants ofindemnity herein shall continue in
          full force and effect notwithstanding the termination or expiration of this
          order.
                                                           Swift, Currie, McGhee & Hiers, LLP
                                                                                       Page 3



A copy of the    applicable Terms and Conditions of Purchase are attached.
                                                                                 I

        A fire
             cause    and origin expert retained on behalf of Toccoa Inn & Suites, Loren
Griswold, has attributed the cause of the fire to resistance heating where the PTAC unit
cord plug was inserted into the wall outlet (see attached report). Carrier does not concede
any allegation as to the existence of a defect in the subject PTAC unit, and Carrier denies
liability in this case with respect to each and every theory asserted by Plaintiff. However,
based upon the opinions rendered by Loren Griswold as to the cause and origin of the
fire, and based upon discovery requests by Plaintiff to Carrier, which are specifically
focused on the LCDI power cord, including seeking information of all prior
                        involving the cord, all communications with the CPSC concerning
the cord, all of the power cord compliance documents, installation and repair manuals,
engineering documents, testing data, studies, etc., it is evident that the Plaintiffs theory
of recovery in this case is necessarily based on an alleged defect in the LCDI cord that
was attached to the subject PTAC unit.           TRC is therefore required to defend and
indemnify Carrier in this action, and Carrier hereby tenders its defense of this lawsuit to
TRC, and demands the defense and indemnification provided for in the Terms and
Conditions cited above.

         As litigation remains ongoing and Carrier has incurred, and continues to incur,
significant legal expenses, time is of the essence. As such, Carrier requests that TRC
accept this tender on or before April 6, 2015. Should TRC fail to do so, Carrier reserves
all rights to pursue TRC for all remedies allowable under applicable law.


                                           Sincerely,

                                           SWIFT, CURRIE, McGHEE & HIERS, LLP



                                       jm.DI
                                           M. Diane Owens
                                                         amgR       0W
                                                                     WwmG



                                        t-LS. DeAnn Bomar
                                                                   -
                                                                       ).I




MDO: SDB:tfl
Enclosures
cc:   David N. Allen, Esq.




  2936895v. 1
           IN THE   SUPERIOR COURT OF STEPHENS COUNTY

                              STATE OF GEORGIA




COURTNEY DESIREE PATTON,                                                       r. 3

                                                                               KLc..C,)

                                                   CIVIL ACTION                           .   ,




                                                         NO.:1450543#4__
                                                                                          D,?


     Plaintiff,                                    FILE                        r
                                                                                                        n
                                                                                                        r
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                                                                                '.-
     VS.                                                                                           *©o,.-
                                                                                                       .        C=


                                                   JURY TRIAL DEMAND-EP
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                                                                                                   %3©
                                                                                                   ..     t-,   C>
                                                                                              fl   4    '.      C:

MICHONT, INC., d/b/a TOCCOA INN                                                 A)
                                                                                              '



                                                                                                   f'     Z.4
                                                                                                                -X
& SUITES; NARAN GOVAN
                                                                                                   m




                                                    O©37
                                                                                0                  ,i)
                                                                                S                  >X:
KESLIKER individually;
MINGLEDORFF'S INC; and
CARRIER CORPORATION,


     Defendants,




                        COMPLAINT FOR DAMAGES



                                                                  the
      COMES NOW the Plaintiff Courtney Patton and shows the Court


following:

                  THE PARTIES, JURISDICTION AND VENUE

                                             1.


      Plaintiff Courtney Patton is   a   resident of the State of   Georgia.

                                             2


      Defendant NARAN GOVAN KESLIKER is                   a   resident of Toccoa,   Stephens

County, Georgia, with   a   last known address of 350    Stephen Circle, Stephens
County, Toccoa, Georgia 30577,               where he may be served with                       legal process.

Defendant NARAN GOVAN KESLIKER is                             subject to   the   jurisdiction       and   venue




of this Court because he is     a   resident of    Stephens County, Georgia.

                                                   3.


      Defendant Michont, Inc., d/b/a Toccoa Inn & Suites is                       a   Georgia corporation
                                                                                                                     '
with its   principal    business address at 106                Stephen Circle, Stephens County,

                       30577 and process may be served                          its   registered agent        for
Toccoa,    Georgia                                                         on



service of process in        Stephens County, Georgia, by serving                      its   registered agent,

NARAN GOVAN KESLIKER,                   at   350   Stephen Circle, Stephens County, Toccoa,

Georgia    30577.    Defendant        Michont, Inc., d/bla Toccoa Inn & Suites regularly

                                                                                             the jurisdiction of
transacts business in       Stephens County, Georgia and is subject to

this Court because this Defendant is          a   Georgia corporation.

                                                    4.


                                         Inc. is             Georgia corporation             with its    principal
       Defendant       Mingledorff's,                   a



business address       at   6675 Jones Mill Court, Gwinnett                County, Norcross, Georgia

30092 and process may be served              on   its   registered agent        for service of process in


Gwinnett County,        Georgia, by serving its registered agent,                     Matthew Ranstead,         at



 6675 Jones Mill Court, Gwinnett County, Norcross,                         Georgia 30092.               Defendant


 Mingledorff's, Inc. transacts       business in this state and sells its               products throughout




                                                        -2
Georgia including Stephens County, Georgia and                     is   subject to   the   jurisdiction of

this Court because this Defendant is           a   Georgia corporation.

                                                     5.


           Defendant Carrier      Corporation ("Carrier")          is   a   foreign corporation located

at One      Carrier Place, Farmington, Connecticut, 06032, and process may be served


on   its    registered agent    CT      Corporation System         at 1201 Peachtree         Street, N.E.,

Atlanta, Georgia 30361.

                                                     6


           Although headquartered in Connecticut, Defendant Carrier Corporation is

subject      to the   jurisdiction    of this Court because it transacts business and has


sufficient minimum contacts within the State of Georgia.

                                                     7.


           Venue is proper in this Court because Defendant NARAN GOVAN


KESLIKER is           a   resident of   Stephens County, Georgia;             Defendant Michont, Inc.,


d/b/a Toccoa Inn & Suites has its              principal place of business in Stephens County,

                                                              Georgia corporation     and is believed to
Georgia; Defendant Mingledorff's,Inc. is                  a



be   a     co-tortfeasor with    one or more       Defendants who reside in           Stephens County,

               and Defendant         Carrier   Corporation ("Carrier")          is believed to be    a co-
 Georgia;

tortfeasor with       one or more       Defendants who reside in             Stephens County, Georgia,

 and pursuant to O.C.G.A.§ 9-10-91 and § 9-10-93.



                                                      -3-
                                               8.

                                                                     business        Toccoa Inn &
        At all times relevant Michont, Inc.
                                                     was     doing              as




Suites.

                               FACTUAL BACKGROUND

                                               9.


                                                                  Patton was a paying
          On the   evening of Saturday, February 1,2014, Courtney
                                                          located in Toccoa, Stephens
guest     at   Michont, Inc., d/b/a/ Toccoa Inn & Suites,


County, Georgia.

                                                10.


                                                                              to room     203 of the
          After    checking   in Courtney Patton           was   given keys

 Toccoa Inn & Suites, located in Toccoa, Stephens County, Georgia.

                                                11.


                                                                  asleep in room 203    at the Toccoa
                February 2, 2014, Courtney Patton
                                                            was
           On


 Inn & Suites.

                                                    12.


                                                                             fire   originated   in   room
           At   approximately 5:00   a.m. on   February 2, 2014,         a




  203 of the Toccoa Inn & Suites as Courtney
                                             Patton was                 sleeping.




                                                     -4-
                                                   13.


                                  in the room's window air
                                                                                                          unit,
      The fire       originated

                                               and sold                        to   Toccoa Inn & Suites
which was designed and manufactured by Carrier


by Mingledorff's, Inc.
                                                    14.


                                                            unit, in   room   203 of the Toccoa Inn &
      The window air

                                                                                                           and
Suites,    was   a   Carrier   packaged terminal                air   conditioning CPTAC) unit,

                                                                                    is   subject   to a   recall
according    to the Consumer Product               Safety Commission,

                                                                           defects in the unit.
related to its   propensity to catch fire due to           one or more



                                                    15.


          Courtney Patton      was     the only occupant of room 203 when the fire started.


                                                     16.


                                                                  contribute to the fire in        room   203 of
          Courtney Patton did nothing to           cause or



 the Toccoa Inn & Suites          on   February 2, 2014.

                                                     17.


                                              the front door of        room   203, where the Carrier air
          The flames     erupted       near



                            unit was installed.

                                                      18.

                                                         the                             only escape path     for
           The location of the fire and smoke obstructed


  Courtney Patton.


                                                          -5-
                                           19.


                                               of fire emergency, located       on   the back of
      According to the safety tips in
                                        case



                                                                  occupants    were   instructed
                                   Inn & Suites, room
the door in room 203 of the Toccoa


to go into the bathroom in
                           the event      of   a   fire.   (See Exhibit "A" attached to this


Complaint)
                                           20.


                                        in                   203 of the Toccoa Inn & Suites
       The heat and smoke from the fire
                                                     room



                                       Patton's eyes.
damaged both corneas of Courtney
                                            21.


                                      discovered the fire in                  room    203 of the
       When Courtney Patton awoke and

                                                         bathroom of room 203.
 Toccoa Inn & Suites, she   sought safety in the

                                        DAMAGES

                                               22.

                                                                  "1"    through "21"   as   if   fully
        Plaintiff re-alleges and incorporates        paragraphs

  set forth herein.

                                               23.


                                                                      detailed written summary
              April 15, 2014 Plaintiff's counsel provided
                                                                  a
         On

                                        to Defendant Toccoa Inn &
                                                                  Suites and its
  of the medical condition of Plaintiff

                                                                           from
                                    The detailed summary included excerpts
  representive Patrick Ortman.

  Plaintiffs medical records   at   Grady Hospital.


                                                   -6.
                                                   24.


                                   Defendant Toccoa Inn & Suites           was   told that   as a   result
       On   April 15, 2014

of the fire in     room   203, Courtney Patton       was       permanently injured and her physical

condition was and is life          threatening.

                                                    25.


                                                                Inn & Suites          provided   written
              April 15, 20 14 Defendant Toccoa
                                                                               was
       On


                                            February 2, 2014, Courtney Patton underwent
                                                                                                        an
medical documentation that             on



                                                                         Medical Center.
endotracheal intubation procedure at Northeast Georgia

                                                    26.


                             2014 Defendant Toccoa Inn & Suites                 was   provided      written
        On     April 15,
                                                            suffered by Courtney
 medical documentation that on February 2,2014 the injuries

 Patton (as    a   result of the fire in    room   203 of the Toccoa Inn & Suites) included the


 following:

        (a)        loss of consciousness;


        (b)        each lung was cauterized;

                                                                               of a machine /
                   requirement for assistance in breathing by
                                                                         use
        (c)

                    ventilator;


         (d)        loss of the    ability to speak;

         (e)        blindness from bilateral corneal burns with           clouding over each sclera

                    and   pupil;


                                                         -7-
     (f)      burns     over   29% of her body;


      (g)     burns to eyes, nose, lips and arms; and


      (h)     mental, emotional and physical pain and suffering.

                                                  27.

                                                                                               the
      Courtney Patton currently undergoes                      painful procedures, including

                                            to suck out debris from the flames.
insertion of a tube directly into her lungs

                                                   28.


       Courtney Patton is        not   a   malingerer.

                                                      29.


                                                  medical expenses related to injuries
         Courtney Patton has incurred substantial
                                                                                     owed        to
from the fire in room 203          on      February 2, 2014, including $1,031,123.13

                                                                                     owed        to
Grady Hospital; $344,012.56 owed
                                                 to   Grady Hospital; and $10,549.21

                                                                                           exceed
 North     Georgia Medical         Center.       The     special medical expenses    now




 $1,385,000.00 and will continue to accrue.
                                                      30.

                                                                       Patton is incurring
           At the time of the       filing of this Complaint, Courtney

                                           future surgical procedures related to the
 additional medical expenses and wili have

 fire in   room   203   on   February 2,2014.




                                                         -8-
                                   CAUSES OF ACTION

                                         Count 1 Liability


                                              (Negligence)

                                                   31.


                                                                      "30"                             if fully
         Plaintiff re-alleges and incorporates paragraphs "1" through
                                                                                                  as




set   forth herein.

                                                    32.


                                                                                             Inn & Suites,
         The   owner   of the hotel, Defendant Michont, Inc., d/b/a Toccoa

                                                            the   upkeep       of          203,   at   the time
       negligent in equipping, maintening and
                                                                                    room
was



room     203   was   occupied by Plaintiff Courtney Patton.



                                                    33.

                                                                                                            203
                             reasonably and properly equip and maintain the
                                                                                                   room
          Such failures to


 included the failure to     repair     or   replace the defective Carrier PTAC unit, negliegent

 installation of the PTAC, negligent installation                 near   the   only   room   exit, failure to

                                                                    failure to       equip   room      203 with
 equip    room   203 with    a   fire   suppression system,
                                                                                    and failure to     repair   or
 functioning smoke and carbon molloxide detectors/alarms

                                         for room 203.
 replace batteries in the smoke detector




                                                      -9-
                                                34.


         The    damages caused     to   Courtney   Patton   were   caused   by   the   negligence of

                                                               Inn & Suites,
each Defendant including Defendant, Michont, Inc., d/Wa Toccoa
                                                                                                      as




a   result of its failure to   properly equip and maintain the room therein.

                                                35.

                                                      caused in part    by       the   negligence      of
         Courtney Patton's damages           were




Defendant, Michont, Inc., d/b/a Toccoa Inn & Suites,

                                         Count 2    Liability

                                         (Negligence per se)

                                                   36.


          Plaintiff re-alleges and      incorporates paragraphs "1" through "35"           as   if   fully

set forth herein.


                                                   37.


                                                                            d/b/a
          Courtney Patton justifiably relied upon Defendant, Michont, Inc.,

 Toccoa Inn & Suites to         provide for her safety while occupying room 203,

                                                   38.


          At all times relevant to this     action, room 203 and the adjacent premises were

                                                                                d/b/a
    under the   management, supervision and control of Defendant Michont, Inc.,

    Toccoa Inn & Suites.




                                                    -10-
                                                      39.


      Defendant Michont, Inc., d/b/a Toccoa Inn & Suites,                             through   its acts and


failures to act,          failed to take reasonable steps to protect               Courtney Patton from

injury.

                                                      40.


       Plaintiff was         trapped in     room    203 of the Toccoa Inn & Suites             as a   result of


the fire and smoke           near   the   only   escape   path and   as a   result of   or   caused   by   Code


violations by Defendant.


                                                      41.


       The Code violations referred to in                   paragraph 40 above          include but    are   not


limited to, the           negligent repair, negligent maintenance, negligent management,

negligence          and   gross-negligence of Defendant Michont, Inc.,                 d/b/a Toccoa Inn &


Suites, which caused all            or a   portion of Plaintiff's injuries.

                                                          42.

          As    a   proximate      cause    of the fire and of the     resulting injuries       to    Courtney

Patton, Defendant Michont, Inc., d/Wa Toccoa Inn & Suites, acting by and through

its agents,         was   guilty   of   one or more       of the following acts of           common     law   or




statutory negligent conduct:

          (a)        failing to provide Courtney Patton with           a    safe   place to stay;




                                                          -11-
                                                                                                     unit
       (b)     negligent design, installation and maintenance of the FrAC wall

               located near the    only exit out of room 203; and

               failure to install and maintain       adequate and    advertised fire   suppression
       (c)

               and   warning devices.

                                                43.


       In the   alternative, Courtney Patton also relies            oil   the doctrine of   res      ipsa

loquitur.    In this connection, Courtney Patton shows that the maintenance and


operation    of the Toccoa Inn & Suites at 106             Stephen Circle, Stephens County,

Toccoa, Georgia 30577,           was   within the exclusive control of Defendant            Michont,


Inc., and its agents. The        occurrence   causing damage       to     Courtney Patton   was one




that, in the ordinary course of events, would not have occurred without negligence

on   the part of Defendant Minchont, Inc., d/Wa Toccoa Inn & Suites or its agents.

                                              Count 3


                           (Expenses for Litigating in Bad Faith)

                                                44.


        Plaintiff re-alleges and incorporates          paragraphs   "1"     through "43"   as   if   fully

set forth herein.


                                                 45.


        There is     no   bona   fide dispute   as    to the   liability of Minchont, Inc., d/b/a

Toccoa Inn & Suites         or   its agents for the fire and      resulting inj uries sustained by



                                                 -12-
Plaintiff    Courtney Patton, and in the event any Defendant denies                             liability for this



incident,     Plaintiff       is   entitled    to     her costs of litigation,          including        reasonable


attorney’s fees and expenses of litigation, pursuant to the provisions 0f O.C.G.A. §


13-6-11.


                                                      (Spoliation)


                                                          46.
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                                                                            Iain'd                           é'
           OnApril 1,5614,                fiainti-ff    sent-by email                 c'ertiﬁeud   mail;          icfter



requesting that certain evidence be preserved as                       it   relates t0 the subject ﬁre               0n

February      2,   2014.      A    true   and accurate copy of the email                 is   attached hereto as


Exhibit "B".       The email contained               a letter as an attachment, asking that evidence be


preserved and           made       available for inspection. Defendants Michont,                         1110.,   d/b/a


Toccoa Inn         &   Suites and     Naran Govan Kesliker have               failed to       make      the premises


available for inspection and said Defendants failed t0 preserve evidence. Evidence


in this case has             been concealed,           lost    and destroyed. The             failure t0 preserve


evidence that          is   necessary to contemplated or pending litigation                        is   inexcusable.


This conduct creates the presumption that the evidence would have been harmful


to   all   Defendants in      this action.


                                                              47.


           Defendants Michont,              1110.,    d/b/a    Toccoa Inn    &       Suites    and Naran Govan


Kesliker have intentionally refused to preserve evidence in their possession,
custody and control,        which Plaintiff will need to         prosecute this   case.   The


concealing   and destruction of this evidence has caused Plaintiff harm and will


needlessly enlarge the     scope of this   litigation,

                                               48.


      Defendants Michont, Inc,, d/b/a Toccoa Inn & Suites and Naran Govan

Kesliker have   conspired      to   conceal and        destroy evidence, thereby preventing

Plaintiffand her attorneys from       obtaining valuable evidence which would support

Plintiff s claims   as   stated herein.


                                                49.

      Plaintiff alleges that Defendant Naran Govan Kesliker             s   actions, including

the withholding and destruction of evidence, authorize the          piercing o f the corporate

veil that would otherwise be available to Defendant            Minchont, Inc., d/b/a   Toccoa


Inn & Suites.


                                                50.


      Plaintiff shows that Defendants           Michont, Inc., d/b/a   Toccoa Inn & Suites


and Naran Govan Kesliker should be sanctioned for their actions,                including the

withholding and destruction of evidence.




                                                -14-
                                            Count 4


                                        (Strict Liability)

                                               51.


      Plaintiff re-alleges and incorporates          paragraphs "1" through "50"       as   if   fully

set forth herein.


                                               52.


       Carrier     Corporation was at the    time of the   occurrence   and is   now   engaged in

the business of       designing, manufacturing, selling          and   marketing of PTAC air

                                                                       the air
conditioners/wall heaters and did in fact design, manufacture and sell

                                                        203 of the Toccoa Inn & Suites       on    the
conditioning unit that was installed in       room




date of the accident in     question.

                                                53.


       The Carrier PTAC unit installed in             room   203 of the Toccoa Inn & Suites

                                                                                            Plaintiff
caught     fire and caused severe,         permanent and disabling inj uries           to




 Courtney Patton.

                                                54.

                                                                                   Patton           not
        The Carrier PTAC unit that         caught fire    and   injured Courtney            was




 merchantable and reasonably suited           to the use     intended, and its condition when

                                                                           Patton.
 sold is   a   proximate cause of the injuries sustained by Courtney




                                                 -15-
                                                55.


      The Carrier PTAC unit that caught fire and               injured Courtney   Patton failed to


            in                 reasonably expected       in   light   of its nature and intended
perform           a   manner



function.

                                                56.


      The Carrier PTAC unit that                caught fire      and    injured Courtney   Patton


contained    one or more       desi gn defects, such that the risks inherent in the     product' s

design outweighed the utility of the product             as   designed, considering all   relevant


factors under Georgia law.


                                                 57.


      The Carrier PTAC unit that                caught    fire and      injured Courtney Patton

contained        one or more    manufacturing defects, inasmuch           as   the PTAC unit    was




defective in its manufacture (i.e., deviation from              design intent) and/or   there   were




inadequate warnings of its dangerous propensities.

                                                 58.


       Upon information and belief, Carrier has admitted the PTAC unit in question

                                       recall for the subject PTAC that          acknowledges    the
was   defective       by issuing   a




presence of the defect and its         propensity to cause a fire.




                                                   16.
                                              Count 5


                                           (Negligence)

                                                 59.


         Plaintiff re-alleges and   incorporates paragraphs          "1"   through "58"   as   if   fully

set   forth herein.


                                                 60.


         Carrier   Corporation was      at the time of the occurrence and is      now   engaged in

the business of        designing, manufacturing, selling            and   marketing of PTAC air

conditioners/wall heaters and did in fact                design,   manufacture and sell the air


conditioning unit that was installed in         room     203 of the Toccoa Inn & Suites         on    the


date of the accident in     question.

                                                 61.


         The Carrier PTAC unit installed in              room   203 of the Toccoa Inn & Suites


caught     fire and caused severe, permanent and                   disabling injuries   to Plaintiff



Courtney     Patton.


                                                 62,


         Carrier   was   negligent in   the   design and manufacture        of the PTAC unit that


caught fire   and     injured Courtney    Patton.




                                                  -17-
                                                     63.


        Carrier    was    also   negligent   in    failing    to   properly communicate      and   warn



about defects that          were   discovered post sale, and in           failing   to   properly and

effectively recall and provide notice of the recall                   and hazards of the defective


PTAC unit.


                                                     64.


        The   negligence alleged herein            was a     proximate cause   of the accident and of


Courtney Patton's injuries and damages.

                                                   Count 6


                                             (Negligence)

                                                     65.


         Plaintiff re-alleges and        incorporates paragraphs        "1"   through "64"   as   if   fully

set   forth herein.


                                                     66.


         Defendant Mingledorf's, Inc.             was   at   the time of the   occurrence   and is     now




engaged     in the business of           selling   and     marketing   PTAC air conditioners/wall


heaters for sale to and for        use   by members of the general public,

                                                     67.

         Defendant       Mingledorf's,      Inc. sold and/or installed the defective Carrier


PTAC unit     at   issue.




                                                     -18-
                                                 68.


      Defendant Mingledorf' s, Inc.         was    negligent in failing        to warn of   dangers of

the FIAC that it knew about and which             were       not   adequately communicated by         the


manufacturer, Carrier.

                                                  69.


      Defendant Mingledorf' s, Inc, knew                or   should have known of the defects          or



                           the Carrier PTAC unit in                 question   and failed to   give   an
hazards   presented by

adequate warning concerning such dangers.

                                                  70.


                                                          proximate cause of the accident and          of
      The    negligence alleged herein          was a




Courtney Patton's injuries and damage.

                                   PRAYER FOR RELIEF


      WHEREFORE Plaintiff prays for the following relief:


       (a)    That summons issue requiring the Defendants to appear as                      provided

               by law to   answer   this   Complaint;

       (b)     That the Plaintiffhave       a   trial   by jury;

       (c)     That Plaintiffrecover all        damages for alltosses compensable under

               Georgia law    as   set   forth above;




                                                   -19-
    (d)    That Plaintiffhave and recover all medical expenses incurred, past,

                                                                   as may be
           present and future, of at least $1,385,000.00, and more

           proved at trial;

     (f)   That Plaintiffhave and     recover   her attorney' s fees and expenses of


           litigation; should the Defendants deny liability and for the bad faith

           destruction of evidence;


     (g)   That all costs be cast against the Defendants;


     (h)   That Defendants be sanctioned for the destruction of evidence; and


     (i)   That Plaintiff have such other and further relief as the Court shall


           deem    just and appropriate.

     This 21 st   day of July 2014.



                                                  MCDONALD & CODY, LLC
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                                              Georgia Bar No. 488795
                                                  P. GERALD CODY, JR.
                                                  Georgia Bar No. 172765
P,O. Box 555                                      Attorneysfor Plaintiff
Cornelia, GA 30531
(706) 778-5291




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                                           05. Keep your                table next to your:bed.
                                                                                     room          key         on a
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                                           6. If you leave your room, keep door closed and take your
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                                           7. Write down the number for the local fire:department and
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EX   --/1&   .J.--        J
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                                                                    Saturday, July 19, 2014 at   1:25:56 PM Eastern       Daylight Time


Subject: (none)
Date:       Tuesday, April 1,       2014 at 5:15:56 PM Eastern         DaylightTime
From:       Helen Lovell

To:
CC:         Gerald Cody, Gus McDonald, Sam              Sliger, Teresa Maye
Please    the attached letter from Mr. Cody regarding the fire that occurred on February 2, 2014. Please
         see

preserve and, if necessary, retrieve all items identified in the attached letter.


Mankyou.

Helen E. Lovell
Assistant to R Gerald         Cody, Jr., Esquire
McDonald &        Cody,     LLC
R O. Box 396
Cornelia, GA 30531
(706) 778-7178

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any attachments,and all copies thereof from any drives or storage media and destroy any printouts of the e-mail or attachments, If
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included in this communication(including any attachments) is not intended to constitute a complete analysis of all tax considerations,
and is not intended to be used (and cannot be used) for (i) the purpose of avoiding any tax-related
                                                                                                  dp
                                                                                                   penalty that may be imposed
under the Internal Revenue Code, or (ii) to support the promotion or marketing of, or to recommend to another party any transaction
or matter related to federal taxation. Each
                                            taxpayershould seek advice based on the taxpayer's particular circumstances from an
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should be considered informational only,   and should not be relied or acted upon until a formal attorney-client relationship is
established via   a   written agreement.




                                                                                                                                      Page   1 of 1
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i                                      McDonald &
I
                                                                 Cody, LLC                North Office:


I            I                               ATTORNEYS AT LAW                             383 U.S.   Highway 441 Business
                                                                                          R O. Box 396

                                                                                          Cornelia, Georgia 30531
North Office:                                                                             O: 706,778.7178

Douglas W. McDonald, Sr.                                                                  R 706.776.6371
R Gerald   Cody, Jr., LLC                                        2014
                                                      April 1,                            www.mcdonaldcody.com



           VIA EMAIL:
           ORIGINAL VIA FIRST CLASS MAIL
           Lata Kesliker
           Manager
           Toccoa Inn & Suites
           106   Stephen Circle
           Toccoa, Georgia 30577

           RE:      Incident
                           February 2, 2014
                    Approximately 5:30 a.m.

           Dear Mr. Kesliker:


                  Please accept this as notice that my firm has been contacted by the family of Courtney
           Delray Patton. We understand that Ms. Patton was badly burned in a fire that occurred at
           approximately 5:30 a.m. on February 2, 2014, in the room which she occupied at the Toccoa Inn
           & Suites.

                    Please  accept this as a request that the wall unit (heater) which is believed to have
           caused   or   contributed to the fire which led to Courtney Delray Patton's injuries at the time
           of the
               incident, approximately 5:30 a,m. on February 2, 2014, be immediatelysecured,
        preserved and maintained. In the event the wall unit (heater) has been moved, please
        accept this as a request that you immediately retrieve said wall unit (heater) and secure it
        for us and our experts to view, photograph and examine. Also, please accept this as a
        request that you please preserve evidence of the existence or lack thereof of fire alarms,
        smoke alarms, carbon monoxide alarms, including photographs,videos or other evidence,
        which document whether said items were present in the room
                                                                       occupied by Courtney Delray
        Patton or other rooms/units at Toccoa Inn & Suites at the time of the subject fire. Also,
        please accept this as a request that you please preserve evidence of the existence or the lack
        thereof of any sprinkler system that was present in the room occupied by
                                                                                    Courtney Delray
        Patton           other rooms/unitsat Toccoa Inn & Suites at the time of the
                    or
                                                                                       subject fire.
                    Please advise of a date, time and location when     a   member of my firm and such
       representatives as we deem appropriate can come to view the room where Courtney Delray
       Patton was staying and any adjoining rooms where there was fire damage at the time of the
       subject incident. My firm will also need to make arrangements to view, inspect and
       photograph the rooms and the wall unit (hester) which is believed to have caused or
       contributed to the subject fire.
Lata Keslinker
Page 2
April 1,2014



                                        formally demand that you and all of Toccoa Inn & Suites'
         The purpose of this letter is to
employees, agents, servants, representatives, and any independent contractors, not discard, lose,
alter, change, tamper with, destroy, modify or in any way alter any evidence, including, but not
limited to, the wall unit (heater) which is believed to have caused or contributed to the subject
fire.


         This letter is also intended   demand that all of the above information be maintained
                                        as a

and made available to my firm     or    such experts
                                                as we
                                                      may deem appropriate. This request is made
pursuant to all applicable law, including,but not limited to, O.C.G.A. § 24-4-22, and the cases
decided pursuant to same.


                   Georgia law, should any of the items noted above be destroyed or otherwise
         Pursuant to
become unavailable, a legal presumption will arise that the destroyed or unavailable evidence
would have contained information or provided inferences harmful to Toccoa Inn & Suites. In
addition, you should be aware that there are both civil and criminal penalties which can be
assessed/imposed for the spoliation of evidence.

       Please confirm that you have preserved the items noted above. Also, please have
someone contact me to advise of a date, time and location when a member of my firm and such

representativesas we deem appropriate can come to view, inspect and photograph the room
where Courtney Delray Patton was staying and any adjoining rooms where there was fire
damage at the time of the subject incident, This request shall also include a request to view,
inspect and photograph the rooms and the wall unit (heater) which is believed to have caused or
contributed to the subject fire. This request shall also include a request that we be allowed to
view, inspect and photograph evidence of the existence or lack thereof of fire alarms, smoke
alarms, carbon monoxide alarms, and/or sprinkler systems, including photographs, videos or
other evidence which document whether said items were present in the room occupied by
Courtney Delray Patton or other rooms/units at Toccoa Inn & Suites at the time of the subject
fire.


         Please advise.


                                          Respectfully,


                                                          GZ
PGCJr/lit
cc:   Courtney Delray Patton
                                         H.&Vay.m.
                                         McDonald &            Cody, LLC                   North Office:


                                              ATTORNEYS AT LAW                             383 US.   Highway 441 Business
                                                                                           R O. Box 396

                                                                                           Cornelia, Georgia 30531
North Office:                                                                              O: 706.778.7178
Douglas W. McDonald, Sr.                                                                   F: 706.776,6371
R Gerald Cody,     Jr,, LLC                               April 3, 2014



        VIA EMAIL:
        VIA FAX:         (706) 886-0003
        ORIGINAL VIA CERTIFIED MAIL RETURN RECEIPT REQUESTED
        Naran G. Kesliker
        Michont, Inc., d/b/a Toccoa Inn and Toccoa Inn & Suites
        106 Stephen Circle
        Toccoa, Georgia 30577

        RE:         Incident February 2, 2014
                    Approximately 5:30 a.m.

        Dear Mr. Kesliker:


                    This will            follow-up to my correspondence to
                                serve as a                                   you dated April 1, 2013. Attached
        is   a
                 copy of said   correspondence.

                    As noted in my
                                correspondence to you dated April 1,2014, please accept this as a request
        that the wall unit(heater) which is believed to have caused the fire which led to Courtney Delray
       Patton's injuries at the time of the incident, approximately 5:30 am on February2, 2014, be
       immediately secured, preserved and maintained. In the event the wall unit (heater) has been
       moved, please accept this as a request that you immediatelyretrieve said wall unit (heater) and
       secure it for us and our
                                 experts to view, photograph and examine. Also, please accept this as a
       request that you please preserve evidence of the existence or lack thereof of fire alarms, smoke
       alarms, carbon monoxide alarms, including photographs, videos or other evidence, which
       document whether said items were present in the room occupied by
                                                                                Courtney Desiree Patton
       (formerly  identified as Courtney Delray Patton) or other rooms/units at Toccoa Inn & Suites at
       the time of the subject fire, Also, please accept this as a request that you
                                                                                    please preserve
       evidence of the existence or the lack thereof of any sprinkler system that was present in the room
       occupied by Courtney Defray Patton or other rooms/units at Toccoa Inn & Suites at the time of
       the subject fire.


               During our investigationinto this matter, we have learned that Holcomb Construction
       performed the renovationsto the room damaged in the subject fire, In speaking with Jerry
       Holcomb, we understand that the wall unit was removed from the renovation site on March 20,
       2014, by a gentleman driving a 1989 Buick Skylark. We have confirmed with the Georgia State
       Fire Marshall's Office, the Toccoa Fire Department and the To©coa Police
                                                                                  Department that none
       ofthem authorized or instructed that the wall unit could be removed or destroyed.
Naran G. Kesliker
Page 2
April 3,2014



      We have canvassed the area in an attempt to locate the damaged wall unit. We have
checked with several salvage/recyclingbusinesses in the Toccoa area, including J. V. Whitlock
Recycle and Carter' s Royal Dispose All, in an attempt to locate the damaged wall unit, We
understand that the wall unit is a     special item that requires a permit to crush, due to the coils and
refrigerant.

          We   being assisted in our investigation by the Toccoa Police Department, the Stephens
                 are

County Sheriff's Office, the Georgia State Patrol, the DistrictAttorney's office and various
salvage yards in StephensCounty.

        The purpose of my letter to you dated April 1, 2014, was to formally demand that
                                                                                            you
and all of Toccoa Inn & Suites' employees, agents, servants, representatives, and any
independent contractors, not discard, lose, alter, change, tamper with, destroy, modify or in any
way alter any evidence, including, but not limited to, the wall unit (heater) which is believed to
have caused or contributed to the subject fire. In view of the fact that you now contend that
                                                                                               your
contractor/agent, Holcomb Construction, knowingly, willfully and intentionally failed and
refused to retain the subject wall unit, please use all methods and means available to retrieve the
subject wall unit.

        I understand that yesterday you advised one of my partners, Gus McDonald, and our Law
Clerk, Sam   Sliger, that your insurance agent and your insurance investigator advised you that
you could destroy or get rid ofthe wall unit, If you now contend differently, please advise in
writing, Regardless of why you allowed the wall unit to be destroyed/disposeddoof, please              accept
this as   a   request that you employ all    means   necessary to locate the   subject wall unit and the
identity of the person driving the      1989 Buick Skylark that took the wall unit from the Toccoa
Inn, a/k/a Toccoa Inn & Suites. In addition, we understand that Jeff Haslup, Investigatorfor the
Toccoa Fire Department, and Brian Smith, an Investigator with the State Fire Marshall's Office,
both advised you that you      were   supposed to retain the wall unit (heater),

        My letter to you dated April 1, 2014, was also intended as a demand that all of the above
informationbe maintained and made available to my firm or such experts as we may deem
appropriate. This request is made pursuant to all applicable law, including, but not limited to,
O.C.G.A.       § 24-14-22, and the   cases   decided pursuant to   same,



          Pursuant to
                  Georgia law, should any ofthe items noted above be destroyed or otherwise
become unavailable, a legal presumption will arise that the destroyed or unavailableevidence
would have contained information or provided inferences harmful to Toccoa Inn & Suites, In
addition, you should be      aware that there are both civil and criminal penalties which       can   be
assessed/imposed for the      spoliation of evidence.
Naran G. Kesliker
Page 3
April 3,2014



        In my letter to you dated April 1,2014, I asked that you please confirm that
                                                                                     you have
preserved the items noted above. I also asked that you please have someone contact me to advise
of a date, time and location when a member of my firm and such representativesas we deem
appropriate can come to view, inspect and photographthe room where Courtney Desiree Patton
was
    staying and any adjoining rooms where there was fire damage at the time ofthe subject
incident.


        This request shall also include a request to view inspect and photograph the rooms and
the wall unit (heater) which is believed to have caused the subject fire. This
                                                                               request shall also
include a request that we be allowed to view, inspect and
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or lack thereof of fire alarms, smoke alarms, carbon monoxide alarms, and/or sprinkler
                                                                                          systems,
including photographs, videos or other evidence which document whether said items were
present in the room occupied by Courtney Desiree Patton or other rooms/units at Toccoa Inn &
Suites at the time of the subject fire. We wish to inspect the room that Courtney Desiree Patton
was in at the time of the fire and the other rooms located on the same level or
                                                                                adjacent to her
room.


         Please advise.


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                                          p3jlly,
                                      ,F. GeraldfCo   y, Jr

PGCJr/hl
cc:   Sara Crosby, IAT
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                          Specialty Insurance Company, Via Email
      Courtney Patton
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      GRISWOLD CONSULTING
              Forensic Fire & Electrical Analvsis




               Fire   Origin   & Cause   Investigation
                      The Toccoa Inn & Suites
                         106   Stephens Circle
                               Toccoa, GA
                      Claim No. 155962372123
                      GC File No: GC201402022
                           April 14,2014




FIRE INVESTIGATIONS      ELECTRICAL ANALYSIS      LITIGATION SUPPORT
                         GRISWOLD CONSULTING
                                 Forensic Fire & Electrical Analysis




April 14,2014


IAT    Specialty
1314   Douglas Street,       Suite 1600
Omaha, NE 68102

Attention:         Patrick Ortman


Subject:           Fire Origin and Cause Investigation
                   The Toccoa Inn & Suites
                   106    Stephens Circle
                   Toccoa, GA
                   Claim No.: 155962372123
                   GC File No.: GC201402022


Dear Mr. Patrick Ortman:


Griswold      Consulting, LLC         is   pleased to   submit this summary regarding our fire scene findings at
the above-referenced location which             was   conducted on   February 10, 2014 by Griswold Consulting
Forensic Fire Investigator, Mr. Loren M. Griswold. The purpose of the investigationwas to render a
professional opinion as to the origin and cause of the fire that reportedly damaged the above
referenced motel (Room 203) on February 02, 2014 and to list any and/or all contributing factors.
The site assessment included               an   examination of the exterior and interior of the motel with
photographic         documentation of relevant observations and                 findings.    Mr. Naran          Kesliker, the
insured/owner of the property, was present              during   our   assessment.


Executive     Summary
Based    on   Griswold        Consulting's investigation of the fire damage               at the loss   site,   as   presented
within the remainder of this report, our conclusions are summarized                  as   follows:

   .     No evidence of an exterior fire         was    discovered during the fire    scene   inspection.
   .     The fire     originated in motel room 203        of the structure.

   .     The      area   of origin was determined to be the wall mounted HVAC unit.

   ,     The      cause   of the fire was attributed to resistance heating where the HVAC               plug     was   inserted
         in   a   wall outlet.




                                                -

                                      280 Jackson Mill     Rd, Demorest, GA 30535
                                       Tel: (706) 949-1110 / Fax:       (706) 754-1288
                              Investigations conducted throughoutthe    SoutheasternUnited States_

           FIRE INVESTIGATIONS                   ELECTRICALANALYSIS              ?        LITIGATION SUPPORT
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       .   Once the fire      was   initiated, it spread in    a   normal fashion        eventually causing         substantial

           damage to the motel room until extinguishedby the fire                  department.
       ,   No evidence of an       incendiary ignition     source was     discovered in the      area   of origin   during this
           investigation.


Site Description

The property      be described as a two-story, masonry and steel construction; multi-tenant motel
                    can


(Photograph   1). The structure is approximately 25+ years old. The latitude at the scene is North
34 degrees 34.233 and the longitude is West 83 degrees 18.628. These coordinates were acquired
utilizing a GPS, Global Positioning System receiver and taken at the southeast corner of the
structure.


The front o f the structure faces south. The roof is a typical gable type construction and covered with
asphalt composition shingles. The exterior of the loss is covered with brick veneer and the
foundation consists of        a   concrete slab.    The structure       was   in   good   condition with    no   indication of
recent and/or      ongoing repairs    and/or renovations.


The motel       rooms are    protected by smoke     detectors located in the interior of each            room.      There is   no

central    or   monitored fire and/or intrusion alarm and          no   automatic    suppression system associated with
this structure.


Fire Suppression Operation

Griswold        Consulting    obtained   a   copy of the Fire Incident        Report      for the fire at the Toccoa 1nn &
Suites which documented the           following    information:

       ,   The Toccoa Fire    Department received a call for a fire at                0531 hours   on   February 02,     2014.
           The fire   department arrived on the scene at 0537 hours.
       I
           Upon    arrival to the scene, fire      crews   discovered     a   fire   emitting   from the interior of motel
           room    203.

       ,   The fire   was
                            eventually extinguished and the        scene   left secured.

       .   This    investigator interviewed the Toccoa Fire Department and discovered that they                            had
           turned their  investigation over to Brian Smith of the Georgia State Fire Marshal's Office.
           Investigator Smith confirmed he investigated this loss. He further reported                           that the fire
           originated in motel room 203 and that an occupant was injured during the blaze.
       ,   At this writing,   Investigator Smith's conclusion is undetermined.




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Exterior Examination

At the time of the site   inspection, a visual, non-destructive observation was made regarding the
exterior of the structure. The exterior inspection was conducted by progressing from the least to the
greatest amount of fire damage and was documented by digital photography:
       ,    Exterior burn patterns indicate that the fire        originated from within the          interior of motel   room

            203.

       .
            During     the exterior     inspection,    no   obvious deficiencies       or   other unusual attributes     were

            observed.

       ,    There were       no   containers and/or other devices unusual for the environment observed.

       ,    There is    no    evidence of    an   exterior origin,   nor   physical   evidence located   on   the exterior of
            the premises.

       .    There was    no    exterior debris to examine.

       .    All utilities    were   found disconnected at the time of the site         inspection.
Interior Examination

At the time of the site               visit, the interior inspection, which           was    also documented
                                                                                           by digital
photography, was conducted by working from the least damaged area(s) to the most severely
damaged area(s) in order to consider the origin and all possible causes of fire. Although all portions
of the interior have sustained varying degrees of heat, smoke and fire damage, the following
conclusions were developed:

    ,       The greatest amount of fire           damage occurred in       the interior south side of room 203.

    .       Burn patterns, heat transfer indicators, ventilation factors, relative degree of fire destruction
            and relative physical evidence was utilized to establish the area of origin.

    .
            During     the  general scene assessment, clothing, furniture, appliances                  and other    personal
            contents    typically found in an occupied motel room were noted.

    ,       Alltypical appliances were found connected to various                   electrical outlets and/or other power
            sources with no unusual findings and/or observations.




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An evaluation         was      made concerning the electrical system in the room of origin, which included all
outlets, receptacles and          branch circuit wiring. This evaluation provided the following information:

      .    The north wall consisted of one wall outlet and                one   wall switch.


      ,    The south wall consisted of one fire             damaged wall outlet and        one   wall switch.

      o    The     east   wall consisted of two wall outlets.

      o    The west wall consisted of three wall outlets.

      .    The     ceiling space did      not consisted of any electrical        apparatus.

      .    All fixed       wiring     in the   room   of   origin   failed to   produce   any evidence of       arcing   or   other
           unusual electrical         activity in   any fashion.

The    area   of origin,     specifically,the interior south wall, was examined by working from the
                               or more


top layer     of debris to the final
                                layer of debris until the floor was uncovered and inspected. Clearing
the area of origin of debris can be seen in the photo study provided within this report. During the
debris excavation process, the following conclusions and observationswere made:

      o    No unusual burn patterns were observed.


      .    No debris       samples were recovered from the area of origin for hydrocarbon analysis due to the
           fact that      no physical evidence was discovered which would indicate a potential incendiary
           fire.

   ,       All  appliances and/or other possible ignition sources discovered in the area of origin
           displayed evidence consistent with that of simply being attacked by an advancing fire with
           the exception ofthe wall mounted HVAC appliance and associated wall outlet.

   .       All other items       were    successfully eliminated as contributing factors surrounding this                loss.


           The firedamage increased with proximity to the wall outlet and the male plug of the HVAC
           appliance power cord and was subsequently considered the epi-center of this thermal event.
   .       The HVAC            appliance was    mounted in the south wall of the           room    and the associated power
           cord    was    found inserted in the wall outlet located         directly beneath the     appliance.




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             The wall outlet    was   examined and found to have electrical components of the HVAC                  plug
             still inserted. The   blade(s) displayed damage consistentwith resistance heating.

     .       The HVAC unit is described as         a   white in color
                                                                appliance and was manufactured by                Carrier.
             The model number and       serial number were destroyed during the fire.

     .       The control components were likewise            destroyed during the fire.

     ,       Examination of the power cord revealed resistance heating on the male-end of the               plug.

     ,       Reconstruction of the    area    of origin confirmed the above     findings and     conclusions.

     .
             Through a process of careful analysis and examination, all accidental causes and available
             ignition sources inherent to the structure were eliminated during the course of the fire scene
             inspection.
     .
             During the debris sifting    process,     no   unusual evidence   was   discovered other than the   item(s)
             mentionedabove.

     .       The final   hypothesis was concluded only after all known evidence and facts were examined
             and   eliminated through deductive reasoning and careful examination and consideration.


Investigation Methods
         .   The   investigation method(s) and/or Procedure(s) utilized during the course of this
             investigationwere conducted in accordance with NFPA 921, Guide for Fire and Explosion
             Investigations 2011, and NYPA 1033, Standard for Professional Qualifications for Fire
             Investigator 2009. The systematic approach used in the investigation was that of the
             scientific method as prescribed in NFPA 921, Chapter 4 Basic Methodology, and NFPA
              1033, A.4.1.2.
         ,   The   scene was systematically examined, relevant data collected, key interviews conducted,
             the collected data analyzed, possible hypotheses were developed based on the data analysis,
             and the resulting hypotheses were tested through a process of deductive reasoning.

Documents Reviewed

As   part of Griswold Consulting's assessment of the reported damage                   at the   residence/property, we
reviewed the        following documents:
     .       Toccoa Fire    Department report.




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Final Conclusions

Based   on   the observations at the time of the site visit and          subsequent investigation, the following are
conclusions offered   by investigator.
                              the                  These conclusions        are based on a systematic evaluation of

physical and observable evidence as well                 as   fire    pattern analysis to a reasonable degree of
investigative certainty.
    ,   It was the   opinion of the investigatorthat:
               o   The fire originated in motel room 203.

               o   The fire      was   attributed to resistance       heating     where the HVAC power cord was
                   inserted into the wall outlet. The event was attributed to age and          worn connections.


               o   The    inspection   of anexemplar room revealed heat damage in the exact same type of
                   plug    and    wall   outlet configuration- suggesting that these appliances require
                   immediate      inspection for damage and/or age related issues.
               o   There   were no     indications that the fire     was    initiated   by human   intervention.

               o   During      inspection, it was immediately observed that the smoke detector in room
                            this
                   203 was missing from the ceiling mount. During the interview with Investigator
                   Brian Smith, he reported that they located the detector in a dresser drawer where they
                   suspect the room occupant may have removed and re-located it. Evidence of smoking
                   was observed in this non-smoking room.


               o   The    injured occupant     was   identified      as a   female, Courtney Patton, who resides           at
                   2484 West Currahee Street, Toccoa, GA.

               o   An on-site interview with Mr. Kesliker revealed that there has been                    no   recent   work,
                   repairs and/or modifications to      motel room 203.




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Limits of Study

This report was       prepared    for the exclusive use of IAT   Specialty and was not intended for   any other
purpose. This report represents the forensic observationsand conclusions resultingfrom information
that was provided to us as well as the fire scene findings. The site inspection(s)performed on the
above date(s) was        a   limited visual assessment. Areas hidden from view such as within walls, fioors,
or   otherwise not      accessible,   were   not examined.   The
                                                        opinions in this report are based upon fire
science and forensic observationsmade during the course of this investigation and were developed to
a reasonable
             degree of investigativecertainty. Please note that Griswold Consulting,LLC reserves
the right to revise the observations, comments, and/or conclusions above as conditions change or
additional information becomes available. This report was prepared for our client's use and
Griswold Consulting,LLC disavows any liability for use by others.

Griswold         Consulting, LLC appreciates this opportunity to have assisted you with this investigation.
Please contact us if you have any        questions or need additional information.

Sincerely,




 YmGUL
Loren M.     Griswold, CFI, CFEI, CVFI, CMI
Fire & Electrical Investigator
EPA Certified




           FIRE INVESTIGATIONS                 ELECTRICALANALYStS              LITIGATION SUPPORT
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                              The overall view ofthe motel     building containingroom   203.




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                          The exterior view of room 203.




           FIRE INVESTIGATIONS                           ELECTRICAL
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                            The exterior view of room 203.




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                            -1'he exterior view orthe HVAC appliance for                                room   203.




            FIRE INVESTIGATIONS                                       ELECTRICAL
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Fire   Origin   & Cause             Investigation
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                                   Carrier   -



                                                 identified   as   the manufacturer of the HVAC   un it.




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                               An overall interior view of room 203           facing north.




            FIRE INVESTIGATIONS                                          ELECTRICALANALYSIS                   I       LITIGATION SUPPORT
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                      7   -
                              A view ofthe smoke detector ceiling mount as found upon arrival.




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                  8   -
                          A view ofthe smoke     damagccl plug for the smoke detector.




           FIRE INVESTIGATIONS                           ELECTRICALANALYSIS                      LITIGATION SUPPORT
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                  10 -Jhe documentationof personal items                           as   found in the         room.




           FIRE INVESTIGATIONS                         '
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                                    Evidence of smoking materials       as   found upon arrival.




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                                An overall view of the    area of    origin faciiig   south.




            FIREINVESTIGATIONS                                    ELECTRICALANALYSIS                           LITIGATION SUPPORT
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                                A view ofthe wall mounted HVAC appliance as found upon arrival.




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                            The removal and inspection ofthe                lamp cord and base.




           FIRE INVESTIGATIONS                              ELECTRICALANALYSIS                                          LITIGATION SUPPORT
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                               The   inspection ofthe lamp bulb and fixture base.




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                           The top     inspection ofthe   HVAC    appliance.




           FIRE INVESTIGATIONS                             ELECTRICALANALYSIS                     LITIGATION SUPPORT
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                            The   inspection of the HVAC control console.




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                   18   -
                            A view ofthe floor debris in front and under the HVAC applia!!ce.




           FIRE INVESTIGATIONS                                 ELECTRICALANALYSIS                                               LITIGATION SUPPORT
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                           The   area of   origin clearedofdebris.




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                               The examination
                                   examinationof
                                             no the HVAC plug.




           FIREINVESTIGATIONS                              ELECTRICALANALYSIS   LITIGATION SUPPORT
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                            A view ofthe wall outlet located underneath the HVAC appliance.




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                             The examination ofthe   appliance plug.




            FIRE INVESTIGATIONS                          ELECTRICALANALYSIS
                                                         ELECTRICAL
                                                                  LA                                    LITIGATION SUPPORT
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                            Evidence of resistance heating discovered on the                                                     applianceplug.

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                            The     inspection ofthe wall outlet.




           FIRE INVESTIGATIONS                                                  ELECTRICAL
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                  25   -
                           The    inspection of resistanceheating damage found on                  the   plug blade left inserted in the
                  wall outlet.




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                   26      -
                               The i nspectionof an exetnplarplug in   a-adjacent motel room.




           FIRE INVESTIGATIONS                           ELECTRICALANALYSIS                                           LITIGATIONSUPPORT
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                            Heat damage observed   on   the male plu? ofthe HVAC appliance.




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                            The -inspectionofthe heat   damaged plug.




            FIRE INVESTIGATIONS                         ELECTRICALANALYSIS                           UTIGATION SUPPORT
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                            The      inspection o l? the heat damaged wall outlet for the cxcmplai· HVAC appliance.




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                            Heat     damage                found on the HVAC wall outlet.




            FIRE INVESTIGATIONS                                           ELECTRICALANALYSIS
                                                                                                            LIT!9ATION SUPPORT   ?
                                     HEDRICK GARDNER
                                    HEDRICKGARDNER KINCHELOE & GAROFALO LLP
                                              ATTORNEYS      AT   LAW

                         CHARLOTTE   ,
                                         RALEIGH   '
                                                       WILMINGTON   '
                                                                        COLUMBIA




                                            April 17, 2015


M. Diane Owens                                                          Reply To:

S. Deann Bomar                                                          DAVID N. ALLEN
                                                                        Partner
Swift, Curry, McGhee & Hiers, LLP                                       P.O. Box 30397
1355 Peachtree St. NE, Suite 300                                        Charlotte, NC 28230
           GA 30309
                                                                        Direct:   (704) 602-8015
Atlanta,                                                                Fax:      (704) 602-8115
                                                                        Email:



       RE:        Courtney Desiree Patton v. Minchont, Inc. d/b/a Toccoa Inn & Suites,
                  Mingledorffs,Inc., and Carrier Corporation
                  Case No.:    14-SU-CV-329cc(Superior Court, Stephens County)


Dear Ms. Owens and Ms. Bomar:


        My firm and I have been retained as counsel for Technology Research Corporation
("TRC") in regards to the above-captioned matter. I have received copies of your February 12,
2015 Notice ofNon-Party Fault as well as your March 27, 2015 Tender of Defense and Demand
for Indemnification Letter, sent on behalf of Carrier Corporation ("Carrier"). Please accept this
as a response to the March 27,2015 tender letter.



             hereby rejects Carrier's tender of defense and demand for indemnification. The
           TRC
primary reason for this rejection is the lack of evidence that the LCDI cord incorporated into the
subject Carrier Model 52C unit was manufactured by TRC. Your tender letter states that Carrier
has been able to identify through photographsprovided by representatives of the Toccoa Inn that
the subject cord was manufactured by TRC. TRC is not convinced based on this conclusory
statement. If Carrier has any information to show that the subject cord was in fact manufactured

by TRC, as opposed to other vendors who supplied similar cords to Carrier, please provide me
with such information. We understand that the subject unit has been discarded and is no longer
available for inspection, so further efforts to identify the manufacturer of the subject cord are
limited.   Unless convincing evidence is presented showing that the subject cord was
manufactured by TRC, TRC has no obligation to accept Carrier's tender of defense and demand
for indemnification.


                your tender letter states that "it is evident that the Plaintiff s theory of recover
           Further,                                                                                  in
this case is necessarily based on an alleged defect in the LCDI cord that was attached to the
subject PTAC unit." TRC disagrees. Plaintiff's Complaint makes not a single reference to the
LCDI cord.       Instead, the Complaint simply alleges that "the fire originated in the room's window
air                           unit, which was designed and manufactured by Carrier." (Complaint li




                                                                                         00240C.00003 Doc. No. 111
                                                                                                     -
April 17,2015
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13).   The Complaint then notes that "Itlhe window air                          unit...is subject to a
recall related to its propensityto catch fire due to one or more defects in the unit." (Complaint ll
14). TRC's understanding is that the Complaint refers to a November 2007 recall of Carrier
Model 52C units. Upon information and belief, such recall pertained to a defect to internal
elements of the Model 52C units and had absolutely no relation to the units' LCDI cords. If
Carrier possesses any information to the contrary, please provide it to me at your earliest
convenience.


       In summary, absent evidence that the subject LCDI cord was manufactured by TRC and
given the ambivalence regarding the Plaintiff's theory of product defect, TRC has no obligation,
contractual or otherwise, to accept Carrier's tender of defense and demand for indemnification.


        Please feel free to reach out to        if you would like             this matter in more detail.
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                                            Very Sincerely.

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                                                                                      00240C.00003 Doc. No. 111
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